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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )         Docket No. 4:06CR3062
           v.                        )
                                     )
ALEXANDER PRIETO,                    )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     1. Defendant’s unopposed oral motion to continue is granted
and the change of plea hearing is continued from today to October
19, 2006 at 1:00 p.m. before the undersigned magistrate judge in
Courtroom 2, United States Courthouse and Federal Building, 100
Centennial Mall North, Lincoln, Nebraska.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between today’s
date and the anticipated plea of guilty, shall be deemed
excludable time in any computation of time under the requirements
of the Speedy Trial Act, for the reason that defendant’s counsel
requires additional time to adequately prepare the case, taking
into consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).

     3.   Defendant shall appear at the hearing.

     DATED: September 29, 2006.

                                    BY THE COURT:


                                    S/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
